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               IN THE UNITED STATES           DISTRICT COURT               FOR THE
                        SOUTHERN        DISTRICT OF GEORGIA
                                   AUGUSTA       DIVISION

                                                 *
UNITED STATES OF AMERICA,

                                                 *
              v.
                                                 *


CUSHENA N.L.       JORDAN,

      Defendant.                                 *                 l:15-cr-86-2

                                                 *




                                        ORDER




      Presently      before       the   Court         is   Defendant        Cushena    Jordan's

motion to delay her           report       date.           (Doc.    40.)      In her motion,

Defendant indicates she desires to wear a wig in prison because

she suffers from alopecia.                 To do so,         she seeks additional time

to request medical           records from her dermatologist.                          Defendant

also seeks more time to transfer custody of her children to her

uncle.      Finally,    she indicates that she is currently providing

investigators additional information with the hope of qualifying

for   a     sentence     reduction          under          Federal     Rule      of    Criminal

Procedure     35(b).         In    light    of       the    above,     Defendant       moves   to

extend her report date from July 1, 2016, to August 1, 2016.

      Upon     due     consideration,                the    Court     DENIES         Defendant's

motion.       Defendant      has    had    a month          since     sentencing       and   five

months since pleading guilty to arrange for her medical needs
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and the custody of her children.          Additionally,     absent a motion

from the government,        the Court    sees   no reason    at present      to

delay Defendant's report date to facilitate her cooperation for

Rule 35 purposes.

        ORDER ENTERED at Augusta, Georgia, this ^T^^day of June,
2016.




                                    HONC^gpXT. RANDAL VHALL
                                    UNITElTBTATES DISTRICT JUDGE
                                    SOUTHERN    DISTRICT   OF GEORGIA
